                                                                      .·,

                                                   ,,,.,
                                             Case 5:16-cv-02558-JFL Document 1-2 Filed 05/25/16 Page 1 of 3
                                                                      ~




   JS44 (Rev 12112)

   The JS 44 c!Vll co~er sheet an the orma
                                                                      IJ'         ,!                    CJVlL'C~~~                                       SHEET
                                                     tamed herein neither replace nor supplement the fil mg and service of pleadings or other papers as required by law, except as
                                                                                                                                                                                                       ~" I~ •(1, ~ 66' 15
   prov1dedl.v l!lcal rules of C?Urt This form, app ed by the Judicial Conference of the United States in September 1974, IS required for the use of the Clerk of Court for the
   purpose oTimuattrg the CIVIi docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM)

   I. (a) PLAINTIFFS                              .
   lsamar SANC~EZ CHICAS, on behalf of herself a      r minor child,
   J-A-S, Dominga RIVAS ANGEL, on behalf of h self an
   children J-E-R~ and J-A-R-
        (b)

                                                                                                                                                        NOTE:


    ( C) Attorneys (Firm Name, Address, and Teleph                                                                                                      Attorneys (I/Known)
  Bridget Camb~ia
  Cambria & Klij' e, PC
  123 North 3rd ,Street Rea ·n , PA 19601

  Il. BASIS OE JURISDI                                          N (Place an ''){"in One Box Only)                                  III. CITIZENSIDP OF PRINCIPAL PARTIES (Place an                                                         "){"in One Box/or Plaintiff
                                                                                                                                                (For Diversity Cases Only)                                                         and One Box for Defendant)
  0 I      U.S. Goverrutent                           ~ 3       Federal Question                                                                                         PTF                     DEF                                               PTF      DEF
              Plaintiff                                           (US. Government Not a Party)                                            Citizen of This State          0 I                     0 l          Incorporated or Principal Place       0 4     0 4
                                                                                                                                                                                                                of Business In This State

 02        U.S. Goverm!ient                                     Diversity                                                                 Citizen of Another State                   0 2          0     2     Incorporated and Principal Place               a   5    05
              Defendant:                                          (Indicate Citizenship ofParties in Item Ill)                                                                                                   of Business ln Another State

                                                                                                                                          Citizen or Subject ofa                     a    3       0     3     Foreign Nation                                a    6   a   6
                                                                                                                                            Forei
 IV. NATURE OF SUIT (Place an                                      "X" in One Box Only)

 0 110 Insurance                                                      PERSONAL INJURY                          PERSONAL INJURY                         0 625 Drug Related Seizure                      0 422 Appeal 28 USC 158             0    375 False Claims Act
 O 120 Marine                                                   0 310 Airplane                              O 365 Personal Injury -                             of Property 21USC881                   0 423 Withdrawal                    0   400 State Reapportionment
 0 130 Miller Act                                               0 315 Airplane Product                             Product Liability                   0 690 Other                                                 28 USC 157              0   410 Antitrust
 0 140 Negotiable !iistrument                                              Liability                        0 367 Health Care/                                                                                                             0   430 Banks and Banking
 0 150 Recovery ofpverpayment                                   0 320 Assaul~ Libel &                             Pharmaceutical                                                                      .:<,/!l>ROl!ER'l'¥\RIGBTSti;,''¥1'   0   450 Commerce
       & Enforcement of Judgment                                           Slander                                Personal Injury                                                                      0 820 Copyrights                    0   460 Deportation
 0 151 MedicareAJ                                               0 330Federa1Employers'                            ProductLiability                                                                     0 830Patent                         0   470Racketeerlnfluencedand
 0 152 Recovery ofpefaulted                                                Liability                        0 368 Asbestos Personal                                                                    0 840 Trademark                             Corrupt Organizations
       Student Loans                                            0 340 Marine                                       Injury Pro<fct                                                                                                          0   480 Consumer Credit
       (Excludes V~terans)                                      0 345 Marine Product                               Liability                          ''·''i"c~''1c\f'?t:VA~ •R'i'J§l!',i'.cs,.t\i\·· li':'ii''"''' !A;1·:•><Ev            0   490 Cable/Sat TV
 0 153 Recovery of!Overpayment                                             Liability                         PERSONAL PROPERTY 0 710 Fair Labor Standards                                              0 861 IDA (1395ff)                  0   850 Securities/Commodities/
       of Veteran's Benefits                                    0 350 Motor Vehicle                         0 370 Other Fraud                                   Act                                    0 862 Black Lung (923)                       Exchange
 0 160 Stockholder~' Suits                                      0 355 Motor Vehicle                         0 371 Truth in Lending                    0 720 Labor/Management                           0 863 DIWC/DIWW (405(g))            0   890 Other Statutory Actions
 0 190 Other Contnlct                                                     Product Liability                 0 380 Other Personal                               Relations                               0 864 SSID Title XVI                0   891 Agricultural Acts
 0 195 Contract Pro~uct Liability                              0 360 Other Personal                               Property Damage                     0 740 Railway Labor Act                          0 865 RSI (405(g))                  0   893 Environmental Matters
 0 196 Franchise '                                                        Injury                            0 385 Property Damage                     0 751 Family and Medical                                                             0   895 Freedom of!nformation
                                                               0 362 Personal Injwy •                             Product Liability                            Leave Act                                                                            Act
.-.-..-.-..=--"'',__.....,......,...,...=1.,,_.,...,.,...M_...edi..,·'°ca1=.Ma1=1ora=•ctt-.'ce;.;;.....,.,.._ _,_ _...,.......,.,.........,......,.,.iO 790 Other Labor Litigation                                                         0   896 Arbitration
rc;,#::c>)'REAll·PROl!ERTY{:.,;:;f;;;; .,;.,;·~.\CIVlliIDGB'J'Sf~:H: iiPRIS0NER'PE1'1TI9NS'i" 0 791 Employee Retirement                                                                               :r.;t'i'FEOERAIJ::tAl"fiSUITSl!c0~   0   899 Administrative Procedure
 0 210 Land Condelnnation                                      0 440 Other Civil Rights                       Habeas Corpus:                                  Income Security Act                     0 870 Taxes (U.S. Plaintiff                  Act/Review or Appeal of
 0 220 Foreclosure I                                           0 441 Voting                                0 463 Alien Detainee                                                                                   or Defendant)                    Agency Decision
g;!~~:~;~:ii                   Ejectment           g!:i ~=~=ent                              0 510 ~~!::to Vacate                                                                        O 871     i::~~0~arty                             O 950 ;~~:::iity of
0 245 Tort Produc~ Liability
0 290 All Other R1al Property
                                                         Accommodations
                                                   0 445 Amer. w/Disabililies -
                                                                                             0 530 General
                                                                                             0 535 Death Penalty
                                                                                                                                    t ~cWt"i:';<'1J'i1Mlc;itA'FlON;;A1?:1i,fi;':'
                                                         Employment                            Other:                                   0 '162 Naturalization Application
                                                   0 446 Amer. w/Disabilities -              0 540 Mandamus & Othel                     Ill !};5 Other Immigration
                                                         Other                               0 550 Civil Rights                                  Actions
                                                   a 448 Education                           a 555 Prison Condition
                                                                                                                                    \L)
 (.                                                                                          0 560 Civil Detainee·
                                                                                                   Conditions of
                                                                                                   Confinement
 V. 0 IUGIN fPlacean                     "X"inOneBoxOnly)
, ~ I Criginal      •              0 2 Removed from                           0      3     Remanded from                       0 4 Reinstated or                  0 5 Transferred from                      0 6 Multidistrict
         P oceedingj                        State Court                                    Appellate Court                              Reopened                      Another District                                Litigation
                           i                                                                                                                                               (specifY)
                           I                            Cite the U.S. Civil Statute under which you are filing (Do not cile jurisdictional .ffatutes unless diversity):
   I.       AUSE :., FACTION i-C...,a_s,....e,....L_a..,..w_:_F_lo_re_s_v_._L_v1n_c_h_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                 0             Brief description of cause:
                                                         Unlawful detention of refugee minors under Flores v. Lynch
VII. REQU~STED IN      0                                       CHECK IF THIS IS A CLASS ACTION                                              DEMAND$                                                    CHECK YES only if demanded in complaint:
     COMPLAINT:                                                UNDER RULE 23, F.R.Cv.P.                                                                                                                JURY DEMAND:                            0 Yes       0 No
VIII. RELA1fED CASE(S)
                                                            (See in.urnctions):
      IFANf                                                                                 JUDGE                                                                                             DOCKET NUMBER


°i-Z~ht
     USf
FOR O.FFICE                    ONLY
                                                                                                                                                                                                                                                  MAY 25 2016
   RECEIPT#                                 AMOUNT                                                    APPL YING IFP                                                   JUDGE                                            MAG.JUDGE
                                Case 5:16-cv-02558-JFL Document 1-2 Filed 05/25/16 Page 2 of 3

                                                                     UNITED STATES DISTRICT COURT
  FOR THE ~ASTERN DISTRICT OF PENNSYLVANlA- DESIGNATION FORM to be used by counsel to indicate the category of the case fl\t~u5se.8
  assignment ~o appropriate calendar.                                                                                      i}                    16               IJ
  AddressofP/aimift:                B.e,vj<.~     Cav..,.\-.G { &vWlS~Va11iCA,
  AddressofQefendant:                VJ 1;U~\lfl~.fo11           \). ( •

  Place of Accident,
              i                                  ~(          v\<.) (o ....._..,,~
                     Incident or Transaction: -~~-=-~~~~""'-'L(~~U=>,-R-e-ve-r-se-"-~-.d-e_F_o_r_A_d_d_it_io_n_a_l_Sp_a_c_e_) _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _~

  Does this ci~il action involve a nongovernmental corporate party with any parent corporation and any publicly held corporation owning                        of its stock'!
      (Attach twll copies of the Disclosure Statement Form in accordance with Fed                                                         YesD


 Does this caije involve multidistrict litigation possibilities?
 RELATED Of4SE, IF ANY:


 Civil cases are deemed related when yes is answered to any of the following questions:

  1. Is this c35e related to property included in an earlier numbered suit pending or within one year previously terminated action in this court?
                       ,                                                                                                                  ~D       ~~
 2. Does this case involve the same issue of fact or grow out of the same transaction as a prior suit pending or within one year previously terminated
    action in this court?
                                                                                                                                YesD        No[¥"
 3. Does thisicase involve the validity or infringement of a patent already in suit or any earlier numbered case pending or within one year previously
      terminate~ action in this court?                                                                                                    YesD     No9°"


 4. Is this case a second or successive habeas corpus, social security appeal, or pro se civil rights case filed by the same individual?
                       I                                                                                                                  fu0      No(!V""


 CIVIL: (Pla~e             t/ in ONE CATEGORY ONLY)
 A       Federal/Question Cases:                                                                              B.   Diversity Jurisdiction Cases:
  I. D Ind:bmnity Contract, Marine Contract, and All Other Contracts                                          I.   D   Insurance Contract and Other Contracts

 2. o FE(,A                                                                                                   2.   D   Airplane Personal Injury
 3.      D Jonies Act-Personal Injury                                                                         3.   0   Assault, Defamation
 4. o Antitrust                                                                                               4.   D   Marine Personal Injury
 5. o Patpnt                                                                                                  5.   D   Motor Vehicle Personal Injury
 6.      D Lal:jor-Management Relations                                                                      6.    D   Other Personal Injury (Please specify)
 7.      D Ci'jil Rights                                                                                     7.    D   Products Liability
                   I
 8. o Habeas Corpus                                                                                           8.   D   Products Liability -        Asbestos
                   i
 9. o Se4urities Act(s) Cases                                                                                9.    D   All other Diversity Cases
             odial Security Review Cases                                                                               (Please specify)
              11Jother Federal Question Cases
            (Pl9ase specify)        81&> '$.e.t\Je.ri,:ea±- At;>r«mh1.±
                                                                        ARBITRATION CERTIFICATION
                                        I                                   (Check Appropriate Category)
                        \IV"'      ut   \o;                , counsel of record do hereby certify:
     Pl s ,n to Local Civil Rule 53.2, Section 3(c)(2), that to the best of my knowledge and belief, the damages recoverable in this civil action case exceed the sum of
     D
$150,00      .oq
           exclusive of interest and costs;
  /!( lie~ other than monetary damages is sought.~~
               1((/-i~//lp                               ~~                                                                               ,:LCJ):;,1,
               ~           r    I                        ~ey-at-Law                                                                        Attomeyl.D.#
                                                NOTE: A trial de novo will be a trial by jury only if there has been compliance with F.R.C.P. 38.

I certify
except as nted above.                                   <7A!O
            th~t, to my knowledge, the within case is not related to any case now pending or within one year previously terminated action in this court


DATE:          ;'5/~ /1lo                               ~~        Attorney-at-Law
                                                                                                                                           J_o'f)I I
                                                                                                                                           Attorney I.D.#
CIV. 609 C5V2012)

                                                                                                                                                              MAY       25 2015
                   Case 5:16-cv-02558-JFL Document 1-2 Filed 05/25/16 Page 3 of 3


                                       IN THE UNITED STATES DISTRICT COURT
                                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                   CASE MANAGEMENT TRACK DESIGNATION FORM

                                                                                           CIVIL ACTION
              ~ 0i.vt 11ht -e Ch i(,<4.~ / t.t- « \
                                       v.
                                                                                                      16             2558
                                                                                           NO.

         1n accordance with the Civil Justice Expense and Delay Reduction Plan of this court, counsel for
         plaintiff shall complete a Case Management Track Designation Form in all civil cases at the time of
         filing the complaint and serve a copy on all defendants. (See § 1:03 of the plan set forth on the reverse
         side of this form.) In the event that a defendant does not agree with the plaintiff regarding said
         ~esignation, that defendant shall, with its first appearance, submit to the clerk of court and serve on
         the plaintiff and all other parties, a Case Management Track Designation Form specifying the track
         io which that defendant believes the case should be assigned.

         SELECT
         i
                ONE OF THE FOLLOWING CASE MANAGEMENT TRACKS:
         '
         (a) Habeas Corpus- Cases brought under 28 U.S.C. § 2241 through§ 2255.
         I
                                                                                                                     ( )

         tb) Social Security- Cases requesting review of a decision of the Secretary of Health
         i and Human Services denying plaintiff Social Security Benefits.                                            ( )

         (c) Arbitration- Cases required to be designated for arbitration under Local Civil Rule 53.2.               ( )

         ( d) Asbestos - Cases involving claims for personal injury or property damage from
         1
              exposure to asbestos.                                                                                  ( )

     (e) Special Management - Cases that do not fall into tracks (a) through (d) that are
     J   commonly referred to as complex and that need special or intense management by
         the court. (See reverse side of this form for a detailed explanation of special
         management cases.)

     tf)
     '
               Standard Management- Cases that. do not fall into any one of the other tracks.



     j        'S/23/ll,
iDate                                                 Attorney•at-law                Attorney for
 !
                                                      (lt'6L.\.) ~ 2lo -z.03 2
:
f--
             (~<64)qi~.- 20l4
                                                                                     5
                                                                                 ~c:l e+. ~Im' G\@Cl)M"'°; 11t klin{t Io.vJ. <.OW\

ffelephone                                            FAX Number                     E-Mail Address
!




,kiv. 660) 10/02
I'




                                                                                                          MAY 25 2016
